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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   United States Of America,                            Case No. 3:20-mj-05364-KSC
12                                       Plaintiff,
                                                          FINDINGS OF FACT AND ORDER
13   v.                                                   RE WAIVER OF DETENTION
                                                          PENDING TRIAL
14   Ulbio Galo Chele Plua,
15                                     Defendant.
16
17           In accordance with the Bail Reform Act of 1984, 18 U.S.C. §3142(f), a detention
18   hearing was scheduled for 12/31/2020, to determine whether Ulbio Galo Chele Plua (the
19   “Defendant”) shall be held in custody without bail pending trial and, if convicted,
20   sentencing in the above-captioned matter.
21           At the hearing on 12/31/2020, the Defendant knowingly and voluntarily waived all
22   rights, on the record and through counsel, to the setting of bail and the detention hearing.
23   Based on that waiver, the Court orders that Defendant be detained pending trial because
24   they are a serious flight risk and, if convicted, sentencing in these matters, without
25   prejudice or waiver of the Defendant’s right to later apply for bail and conditions of release,
26   and without prejudice or waiver of the right of the United States to seek detention in the
27   event of an application by Defendant for such relief.
28   //

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 1                                             ORDER
 2           IT IS HEREBY ORDERED that Defendant be detained pending trial and, if
 3   convicted, sentencing in these matters.
 4           IT IS FURTHER ORDERED that Defendant be committed to the custody of the
 5   Attorney General or their designated representative for confinement in a corrections facility
 6   separate, to the extent practicable, from persons awaiting or service sentence or being held
 7   pending appeal. The Defendant shall be afforded reasonable opportunity for private
 8   consultation with counsel.
 9           While in custody, upon order of a court of the United States or upon the request of
10   an attorney for the United States, the person in charge of the correctional facility shall
11   deliver the Defendant to the United States Marshal for the purpose of an appearance in
12   connection with a court proceeding or any other appearance stipulated by defense and
13   government counsel.
14           This order is made without prejudice to modification by this Court and without
15   prejudice to the Defendant’s exercise of the right to bail and a detention hearing at a future
16   date.
17
18           IT IS SO ORDERED.
19
20           DATED: 12/31/2020
21                                                 HONORABLE MICHAEL S. BERG
                                                   UNITED STATES MAGISTRATE JUDGE
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